Q»`a/\(j) 245|3 (Rcv. 12/()3) Judgment in a Criminal Case

 

 

 

 

NCED sheet 1
UNITED STATES DISTRICT COURT
Eastern District of North Carolina
UNITED STATES OF AMERlCA JUDGMENT IN A CRIMINAL CASE
V.
AMBER BROWN Case Number: 5112-CR-230-1F
USM Number:56578-056
Curtis Scott Ho|mes
Defeiidant`s Attorney
THE DEFENDANT:

d pleaded guilty to count(s) ‘l (lnformation)

l:l pleaded nolo contendere to count(s)
which was accepted by the court.

 

l:l was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S,C. § 1001 Fa|se Statements 2/6/2012 1
The defendant is sentenced as provided in pages 2 through 5 ofthis_iudgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
l:l The defendant has been found not guilty on count(s)

 

l:| Count(s) [l is lj are dismissed on the motion of the United States.

 

' _ lt is ordered t_hat the defendant _must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until_all fines, restitution,_costs, and special assessments imposed by this judgment are fu ly paid. lf ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances

Sentericing Location: 1/3/2013
WlLl\/llNGTON, NORTH CAROI_INA Date ol`lmposition ofJudgment

L¢VW'J¢ § 7!'
Si%re of ,ludge

JAMES C. FOX SEN|OR US D|STR|CT JUDGE
Name and Title of.ludge

 

 

 

1/3/2013
Date

 

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AO 2455 (Rev. 12/03) ]udgment in a Criminal Case
NCED Sheet 4-Probation

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DEFENDANT! AMBER BRov\/N
CASE NUMBER: 5:12-cR-230-1F

PROBATION

The defendant is hereby sentenced to probation for a term of :

couNT1 - 5 YEARs
The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance, The defendant shall refrain from an unlawful use of a controlled
substance, The defendant shall submit to one drug test within 15 days of placement on probation and at east two periodic drug tests
thereafter, as determined by the court.

[:] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

M The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
m The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

ij The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

[l The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this fiudgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments s eet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1. Ttlife defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
o icer.

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
complete written report within the first five (5) days of each month.

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4. The defendant shall support the defendant’s dependents and meet other family responsibilities

5. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
acceptable reasons.

6. The defendant shall notify the probation officer at least then (10) days prior to any change of residence or employment

7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use distribute, or administer any controlled
substance, or any paraphernalia related to any controlled substance, except as prescribed by a physician.

8. The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered or other
places specified by the cour .

9. The defendant shall not associate with any persons en a ed in criminal activity. and shall not associate with any person convicted of
a felony unless granted permission to do so by the pro a ion officer.

10. The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
any contraband observed in p ain view by the probation officer.

11. TPfe defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
o icer.

12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court.

13. As directed by the probation officer, the defendant shall noti third parties of risks that may be occasioned by_ the defendant’s
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criminal record or personal history or characteristics and sha l permit the probation officer to make such noti cations and to confirm
the defendant s compliance with such notification requirement

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AO 2458 (Rev, 12/03) Judgincnt iii a Criininal Casc
NCED Sheet 4C - Probation

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DEFENDANT: Al\/|BER BROWN

CASE NUMBER: 5:12-CR-230-1F

SPECIAL CONDITIONS OF SUPERV.[SION

The defendant shall provide the probation office with access to any requested financial information

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
office.

The defendant shall participate in a program of mental health treatment, as directed by the probation office.

The defendant shall abide by all conditions and terms of the home detention program for a period not to exceed two years.
The defendant shall be restricted to her residence at all times except for pre-approved and scheduled absences for
employment education, religious activities, treatment, attorney visits, court appearances court obligations or other
activities as approved by the probation officer. The defendant shall wear an electronic monitoring device and follow
electronic monitoring procedures specified by the probation officer. The defendant shall pay for electronic monitoring
services as directed by the probation officer.

The defendant shall submit to a urinalysis test within fifteen days of release from imprisonment, and at least two periodic
urinalysis tests thereafter, as directed by the probation officer pursuant to 18 U.S.C. § 3608.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

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AO 2458 (Rev. 12/03) Judgmcnt in a Criminal Case
NCED Sheet 5 ~ Criminal Monetary Pcnaltics

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DEFENDANT; AMBER BROWN
CASE NUMBER: 5:12-CR-230-1F

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 3 $
l:l The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination
l:l The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each pay)ee shall receive an approximately Lpro ortioned _ayment, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 .S. . § 3664 i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee lgta_l_Lgssj‘ Restitution Ordered Priority or Percentage

TOTALS $0.00 $0.00

[:][] Restitution amount ordered pursuant to plea agreement $

I:l[l The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[:l The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[:l the interest requirement is waived for the l:| fine [:] restitution,

[l the interest requirement for the l:l fine |:l restitution is modified as follows:

* Findings for the total amount of losses are re%uired under Chapters 109A, 1 10, 1 10A, and 1 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199 .

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AO 2458 (Rev. 12/03) Judgmcnt in a Criminal Case
NCED Sheet 6 ~ Schedule of Payments

Judgmcnt _ Page 5 of 5
DEFENDANT: AN|BER BROWN

CASE NUMBER; 5!12-CR-230-1F

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:
A [:] Lump sum payment of $ due immediately, balance due

[:] not later than ,or
|j in accordance [:| C, [:] D, |:| E, or |:j Fbelow; or

B [:l Payment to begin immediately (may be combined with l:] C, |`_'| D, or |:| F below); or

C |:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D ij Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E |:| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F M Special instructions regarding the payment of criminal monetary penalties:

The special assessment imposed shall be due in full immediate|y.

_Unle_ss the court has expressl ordered otherwis.e, if this judgment imposes imprisonment, §aylment of criminal monetary penalties is due during
imprisonment, All crimina moneta penalties, except those payments made throug t e Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to t e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

l:l Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

l:l The defendant shall pay the cost of prosecution.

l:l

The defendant shall pay the following court cost(s):

l:l The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1? assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

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